              Case
% A 0 245C (Rev. 06105) 4:04-cr-40039-JPG                Document 671 Filed 04/03/07
                        Amended Judgment in a Criminal Case                                                      Page(NOTE:
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           Sheet 1                                                 #1687

                                            UNITEDSTATES
                                                       DISTRICT
                                                              COURT
                         SOUTHERN                                        District of                                      ILLINOIS

          UNITED STATES OF AMERICA                                                AMENDED JUDGMENT IN A CRIMINAL CASE
                                v.
                 EUGENE Y . KHOSHABA                                              Case Number: 4:04CR40039-009-JPG
                                                                                  USM Number: *06790-025
Date of Original Judgment:                2/8/2007                                John D. Stobbs, I I
(Or Date of Last Amended Judgment)                                                Defendant's Anorney
Reason for Amendment:
   Correction of Sentence on Remand (18 U.S.C. 3742(fXI) and (2))                      Modification of Supervision Conditions (18 U.S.C. $8 3563(c) or 3583(e))
   Reduction of Sentence far Changed Circumstances (Fed. R. Crim.                      Modification of Imposed Term of lmprisonment for Extraordinary and
   P. 35(b))                                                                           Compelling Reasons (18 U.S.C. $ 3582(c)(1))
   Correction o f Sentence by Sentencing Coun (Fed. R. Crim. P. 35(a))                 Modification of Imposed Term o f Imprisonment for Retroactive Amendment($)
                                                                                       to the Sentencing Guidelines ( I 8 U.S.C. 5 3582(c)(2))
@Correction   of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)
                                                                                       Direct Motion to District Court Pursuant      28 U.S.C. $ 2255 or
                                                                                           18 U S C , $ 3559(cH7)
                                                                                       Modification ofRestitution Order ( I 8 U.S.C. $ 3664)

THE DEFENDANT:
    pleaded guilty to count(s)          1, 2, 3 & 4 of the 4th Superseding Indictment
    pleaded nolo contendere to count(s)
    which was accepted by the court.                                                                                                       du7
    was found guilty on count(s)
                                                                                                                                                      I
    after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:                                                                      BENTON OFFICE
Title & Section                      Nature of Offensr                                                               Offense Ended                   Count
 21 U.S.C.846                         Conspiracy te? Manufacture, P w s s with Intent to Distribute                   513012005                       Issss
                                      500 grams or More of a Substance Containing Meth


       The defendant is sentenced                     d in pages 2
the Sentencing Reform Act of 1984.
      The defendant has been found not guilty on count(s)
      Count(s)                                               is     are dismissed on the motion of the United States.
          I t is ordered that the defendant m u ~notitj
                                                 t      the United States Anorne) for this di3trlr.t within 30 dab > ofan! change of iiame. resiJence,
or mail~n dddress untiI.al1 lines. rest~tution,,costs,and spucial assessments i r n p o d by thisiudgment are fully paid. IfordCrcd ro pa! restltutlon.
tlie duien%mt must not~ljthe coun and Cn~tedStates attome!. ot rnater~alchanzes in economic c~rcumstance~




                                                                                       r
                                                                                  ~&
                                                                                   ;e:      of Judge
                                                                                   w h ~ G~lbert
                                                                                           l                                       Dlstrlct Judge
                                                                                   Name of Judge                                   Tltle of Judge

                                                                                  Date
                                                                                                                       3; 2 0 7
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                  06105) Amended Judgment in a CriminalDocument
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            Sheet 2 -Imprisonment                                #1689                                  (NOTE: Identify Changes with Asterisks ('))

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                                                           IMPRISONMENT

      The defendant is hereby committed to the custody of the United States Bureau of Prisons to he imprisoned for a
 total term of
292 months (292 months on Count 1 and 240 months on Counts 2, 3 & 4 of the 4th Superseding indictment). All Counts to
run concurrent with each other.


      The court makes the following recommendations to the Bureau of Prisons:

That the defendant be placed in the Intensive Drug Treatment Program.



 G$ The defendant is remanded to the custody of the United States Marshal

      The defendant shall surrender to the United States Marshal for this district:
            at                                          a.m         p.m.      on
      C
      I     as notified by the United States Marshal.

 17 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            before 2 p.m. on
      I7    as notified by the United States Marshal.
            as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
 I have executed this judgment as follows:




      Defendant delivered on                                                         to

 at                                                     with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL




                                                                                            DEPUTY UNITED STATES MARSHAL
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            Sheet 3 -Supervised Release                           #1690                                  (NOTE: Identify Changes with Asterisks ($1)


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                                                     SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of
5 years (5 years on Count 1 and 3 years on Counts 2, 3 and 4 of the 4th Superseding Indictment). All Counts to run
concurrent with each other.


          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
 the custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state, or local crime.
 The defendant shall not unlawfull possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall sn%mit to one drug test within I5 days of release from imprisonment and at least two perlod~cdrug tests
 thereafter, as determined by the court.
      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable.)
      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
      student, as directed by the probation officer. (Check, if applicable.)
      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
 the Schedule ofl~aymentssheet of thts judgment.
          The defcndant must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.

                                    STANDARD CONDITIONS OF SUPERVISION
        the defendant shall not leave the judicial district without the permission of the court or probation officer;
        the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
        of each month;
        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
        the defendant shall support his or her dependents and meet other family responsibilities;
        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
        the defendant shall not associatewith any persons enga ed in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permlsslon to do so by the protation officer;
        the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
        any contraband observed in plain view of the probation officer;
        the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
        the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
        as directed by the robation officer, the defendant shall notify third parties of risks that may be occasioned b the defendant's criminal
        record personal !jsto~y, or characteqistics and shall permit the prohat~onofficer to make such notizations and c o n f m the
        defendant's comphance with such notrticatlon requirement.
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A 0 245C   (Rev. 06105) Amended Judgment in a Criminal Case
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           Sheet 3C - Supervised Release                                                      (NOTE: Identify Changes with Asterisks (*))

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                                      SPECIAL CONDITIONS OF SUPERVISION
X The defendant shall cooperate in the collection of DNA as directed by the probation officer.

X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
search pursuant to this condition.

X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 per month or
ten percent of his net monthly income whichever is greater.

X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
with access to any requested financial information. The defendant is advised that the probation office may share financial
information with the Financial Litigation Unit.

X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
immediately notify the probation officer of the receipt of any indicated monies.

X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
residence andlor participation in a residential treatment facility. Any participation will require complete abstinence from all
alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
costs of counseling.

X The defendant shall participate in a program of mental health treatment, as directed by the probation officer, until such
time as the defendant is released from the program by the probation officer.

X Defendant shall submit within 15 days, not to exceed 52 tests in a one year period for drug urinalysis,
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            Sheet 5 -Criminal Monetary Penalties                 #1692                                 (NOTE: Identify Changes with Asterisks (*))


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                                          CRIMINAL MONETARY PENALTIES
   The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6
                 Assessment                                   -
                                                              Fine                               Restitution
TOTALS        % 400.00                                    $ 400.00                            $ 0.00



    The determination of restitution is deferred until                  ,   An Amended Judgment in a Criminal Case ( A 0 245C) will be
    entered after such determination.

    The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximatel     ro ortioned ayment unless specified otherwise
    in the priori order or percenta e payment column below. However, pursuant to 18
    before the Z i t e d States is p a i l
                                                                                          6g.85 3664(ifl all nonkederal victims must be paid

Name olPa)ee                                                Total 1.0s~"                Restitution Ordered        Priorit) or Percentaee




TOTALS                                                      $                            $

     Restitution amount ordered pursuant to plea agreement $

     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. 9 3612(g).

B( The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
   @ the interest requirement is waived for @ fine              restitution.
           the interest requirement for          fine           restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, IlOA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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A 0 245C     (Rev. 06/05) Amended Judgment in a Criminal Case
                                                                 #1693
             Sheet 6 S c h e d u l e of Payments                                                         (NOTE: Identify Changes with Asterisks (*))


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                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    &f Lump sum payment of $                                due immediately, balance due

                 not later than                                 ,01
                 in accordance with                C,   D,      E, or   @F below; or
B           Payment to begin immediately (may be combined with            C,          D, or    O F below); 01
C           Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D           Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                  over a period of
                         (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

E           Payment during the term of supervised release will commence within               (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; 01

F    &f Special instructions regarding the payment of criminal monetary penalties:
           While on supelvised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent
           of his net monthly income, whichever is greater, toward his fine.




[Jnless the court has exprcssl) ordered othcnvise, if this judgment impuscs iniprisonmcnt. paymcnt oicrimin31 monetao penalties is due
during thc period of imprisonment. All cr~minalmonctar). pcnaltics. except those payments made through the Fedcral Burtau of Prisons'
Innlate Financial Kesponsih~l~t)  Program, are made to the clerk ot the coun.

The defendant shall receive credit for all payments previously made toward any criminal monetaly penalties imposed,




     Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
     corresponding payee, if appropriate.




     The defendant shall pay the cost of prosecution.

     The defendant shall pay the following court cost(s):

     The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, ( 6 ) community restitution, (7) penalties, and (8) costs, mcluding cost of prosecution and court costs.
